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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff,
CR No. 22-200
Washington, D.C.
August. 31, 2022
2:07 p.m.

Vs.
PETER K. NAVARRO,

Defendant.

 

TRANSCRIPT OF MOTION HEARING PROCEEDINGS
BEFORE THE HONORABLE AMIT P. MEHTA
UNITED STATES DISTRICT JUDGE

APPEARANCES :

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PROCEEDINGS

COURTROOM DEPUTY: All rise. The Honorable
Amit P. Mehta presiding.

THE COURT: Please be seated.

COURTROOM DEPUTY: Good morning, Your Honor.

This is criminal case No. 22-200, United States of America
versus Peter K. Navarro.

Amanda Vaughn, Elizabeth Aloi, and Molly Gaston
for the government.

John Irving, John Rowley, Stanley Brand, and
Stanley Woodward for the defense.

The defendant is appearing in person for these
proceedings.

THE COURT: Okay, Counsel. Good afternoon.

Mr. Navarro, welcome. Good afternoon to Vou, Sir.

THE DEFENDANT: Good afternoon to you.

THE COURT: Okay. So we're here this afternoon to
talk about Mr. Navarro's motion to compel discovery. The
parties have exchanged briefs and I've obviously read
everything the parties have submitted.

I think I'd like to begin with just some
questions, and primarily direct those questions to
government counsel, just so I can get the factual framework
that I think may ultimately inform some of the legal issues

that have come up. So if I could just have government

 

 
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Mr. Scavino and Mr. Meadows, neither of them showed up for
their depositions, they just blanketly refused just like

I did. So why isn't he in the exact same boat as the two of
them?

MS. ALOTL: So, Your Honor, we're here on a motion
to compel and what you're describing is a selective
prosecution argument.

THE COURT: Right.

MS. ALOI: It is not subject to Rule 16.

THE COURT: Agreed.

MS. ALOT: To obtain discovery, the defendant must
show some evidence tending to show the existence of the
essential elements of that claim.

And so here, the elements of that specific claim
include discriminatory effect and intent, and that's
Armstrong, as you previously noted.

THE -COURT? Right, .

MS. ALOT: So to show discriminatory effect, the
defendant must make a credible showing of different
treatment of similarly situated persons.

And the defendant also must be in a protected
class and the similarly situated offenders must be outside
that protected class and committing roughly the same crime.
And as was discussed, that's actually just not what happened

on the facts here.

 

 
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THE COURT: So to cut to the chase, which is how
is Mr. Meadows differently situated, in the government's
view, and how is Mr. Scavino differently situated than
Mr. Navarro?

MS. ALOT: So just as starting point, both
Mr. Meadows and Mr. Scavino had -- were vocal about their
political beliefs. Mr. Meadows' lawyer --

THE COURT: I'm sorry, I didn't hear you.

MS. ALOI: They were both vocal about their
political briefs, and Mr. Meadows' lawyer actually wrote an
op-ed in The Washington Post about executive privilege. So
the starting point here is that they are all -- they all
share that; they all are vocal about their political
beliefs.

But the defendant has not shown that they
committed the same crime for a couple of reasons.

Mr. Meadows produced records to the Committee, the defendant
did not.

And the House reports that recite the failure of
both Mr. Meadows and Mr. Scavino to reply to the subpoena in
other respects show that their refusals were quite
different; there was a level of engagement that did not
occur here.

But setting that aside, in order to obtain

discovery on a selective prosecution --

 

 
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THE COURT: Before you keep going, I don't want to
set that aside, because that's important.

So is that -- I mean, as you stand here today and
you want me to conclude that Mr. Meadows and Mr. Scavino are
differently situated than Mr. Navarro, and the two grounds
you've identified is that Mr. Meadows produced records and
that the refusal was different for those two gentlemen than
it was for Mr. Navarro. Is there anything else?

MS. ALOI: Well, they also must be outside the
protected class. And here —-

THE COURT: No, fe, I gét. that point .

But I'm asking you about the reasons that you
think they're differently situated. Let's assume for a
moment that their argument is right that the other two
remain silent and it's only Mr. Navarro that has been
outspoken.

Ms. ALOL: $0, Your Honor, first, just as a
starting point, the government doesn't have to refute that ,
it's their burden to show that they are Similarly situated
and that there's one outside the protective class --

THE COURT: I know, but you've raised issues in
your opposition.

MS. ALOT: -- so they've not met that burden.

You know, the government is not going to opine on

the internal deliberation over whether and why to bring a

 

 
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criminal prosecution.

But here the public record shows that there was a
different level of engagement despite them both being in the
Same protected class with the Committee, and, as you have
noted, there was a different way in which Mr. Meadows,

Mr. Navarro, Mr. Scavino, claimed that executive privilege
was invoked.

THE, COURT? Okay.

MS. ALOI: So they also have to show
discriminatory impact, and that is important because it is
necessary for them to obtain additional discovery, which is
the matter before the Court here today.

And to do that, they have to show that --

Mr. Navarro would have to show that his selection was based
on an unjustifiable standard. And the only evidence he
offered to that effect is the committee referral, and the
committee referral cannot itself provide evidence of the
prosecutor's intent. These other allegations that there
must have been some sort of undue political influence are
just speculation, they're not evidence, and speculation is
insufficient to obtain discovery on a selective prosecution
claim.

THE COURT: Okay.

Are you aware of -—- I mean, you've mentioned the

op-ed that was written by Mr. Meadows' counsel. Are you

 

 
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aware of any other statements, either by Mr. Meadows, his
representative, or Mr. Scavino and his representatives?

MS. ALOI: Am I aware of any other statements?

THE COURT: Public statements that were made about
the Select Committee?

MS. ALOIL: I cannot recite any particular ones
today. But we did do a review, and as noted in our rect:
we had identified some on Twitter.

THE COURT: Okay. So you think there's some on
Twitter from Mr. Scavino directly?

MS. ALOT: Yes, I believe so.

You know, they may not be —-

THE COURT: JI don't follow Mr. Scavino on Twitter
or anyone, for that matter.

MS. ALOI: Your Honor, part of the challenge of
answering that question is that the defendant really hasn't
identified a specific political belief that he claims puts
him in this protected class. He Says generally that he
is ==

THE COURT: Well, he hasn't said it's --— I guess
in his reply, he's mentioned or alluded to political beliefs
under the D.C. statute.

But. at least in his primary brief, in his opening
brief, it was that, I have been a more vocal critic of the

Committee than these other two gentlemen. That is what he

 

 
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Claims is the difference. And essentially he's saying, I've
been retaliated against for being more vocal than these
other two former officials.

MS. ALOT: And today I'm just prepared to say that
Mr. Meadows and Mr. Scavino have also been vocal about their
political beliefs.

THE COURT: Okay.

MS. ALOI: But in any event, you don't have to
reach this issue to find that he is not entitled EO
additional discovery on this claim, because they didn't
commit similar crimes and there's no evidence of
discriminatory impact.

THE COURT: Okay.

I mean, it's not that they committed similar
crimes, it's that they engaged in similar conduct.

MS. ALOI: Similar conduct, that's right.

THE COURT: One was prosecuted and the other two

have not been. Okay.

MS: ALOI: That's right.

THE COURT: All Pi@ht.

Mr. Irving; I think you wanted to Say something
more about grand jury. And if you want to reply; I'll give
you an opportunity to be heard as well, or rebuttal I should
say.

MR. IRVING: Your Honor, if T may just address a

 

 
